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                             EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

  ________________________________________________
  MUNA AL-SUYID, individually and on behalf of the      :
  estates of her family members ABDEL SALAM             :
  AL-SUYID, IBRAHIM AL-SUYID, KHALID                    :
  AL-SUYID and MUSTAFA AL-SUYID, and                    :
  ABDALLA AL-KRSHINY, AHMAD AL-KRSHINY,                 :
  MAHMUD AL-KRSHINY,                                    :
  and IBRAHIM AL-KRSHINY, individually                  :
  and on behalf of his family member ALI AL-KRSHINY :
  and MUSTAFA AL-KRSHINY,                               :
                                                        :             Civil Action No.
                                                        :             1:20-cv-00170-LMB-JFA
                                            Plaintiffs, :
                                                        :
  v.                                                    :
                                                        :
  KHALIFA HIFTER,                                       :             MAY 20, 2022
                                                        :
                                                        :
                                            Defendant.  :
  ________________________________________________:

                 DECLARATION OF JOSEPH G. GRASSO IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT

         I, Joseph G. Grasso, counsel for Plaintiffs Muna al-Suyid, acting individually and on

  behalf of her family members Abdel Salam al-Suyid, Ibrahim al-Suyid, Khalid al-Suyid and

  Mustafa al-Suyid, and Abdalla al-Krshiny, Ahmad al-Krshiny, Mahmud al-Krshiny and Ibrahim

  al-Krshiny, acting individually and on behalf of their family members Ali al-Krshiny and

  Mustafa al-Krshiny (collectively “Plaintiffs”) hereby state as follows:

         1. I am over 18 years of age, of sound mind, and otherwise competent to make this
            declaration. The statements set out below are based on my personal knowledge.

         2. I am a litigation attorney at the law firm of Wiggin and Dana. I serve as counsel for
            Plaintiffs in the case al-Suyid et al., Hifter, No. 1:20-cv-00170-LMB-JFA. I am
            admitted pro hac vice to this Court for this matter. As such, I am familiar with the
            facts of this case.

  DECLARATION OF JOSEPH G. GRASSO                  1
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         3. I hereby certify that Defendant Khalifa Hifter (“Defendant”) has repeatedly failed to
            appear for a duly noticed deposition for a total of four times, in violation of Federal
            Rule of Civil Procedure 30(a)(1).

         4. Plaintiffs previously noticed Defendant’s deposition for September 22, 2021; October
            13, 2021; November 1, 2021 (subsequently rescheduled to November 9); and May 9,
            2022.

         5. Defendant has failed to appear at each of the dates that Plaintiffs duly noticed his
            deposition.

         6. I hereby certify that the entirety of Defendant’s discovery productions is published
            material that is available in the public domain, with the exception of a three-page
            declaration of Defendant.

         7. Defendant’s declaration, produced as part of discovery, asserted his lack of
            knowledge of or responsibility for the facts alleged by Plaintiffs.

         8. I have a good faith belief that Defendant does not intend to produce further discovery
            in this case.

         9. I have a good faith belief that Defendant does not intend to be deposed in this case.

         I declare under the penalties of perjury under the laws of the United States of America

  that the foregoing is true and correct.


  Dated the 20th day of May 2022, at Washington D.C., the United States.


                                                                      /s/ Joseph G. Grasso
                                                                         Joseph G. Grasso




  DECLARATION OF JOSEPH G. GRASSO                 2
